'JS 44 (Rev. 12/07)
                   Case 1:08-cv-00326-ML-DLM
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                                                                                               CDocument
                                                                                 CIVIlC"OVER SHEET
                                                                                                                       or-                  32(p
                                                                                                                                          Filed 08/29/2008
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                                                                                                                                                                                    RECEIVED
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, IS required for the use of the Clerk of Court for the purpose of mmanng
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)                                                                                 AII~ C) no .,tlftt'
                                                                                                                                                                                             -    -   l/    ~"'U·.1
I. (a) PLAINTIFFS                                                                                                          DEFENDANTS
 Ousman Cham                                                                                                                Station Operators, Inc.
                                                                                                                                                                             us. DlSTRIcrCOURT
     (b)   County of Residence of First Listed Plaintiff                 Providence                                        County of Residence of First Listed DefendJ.)1S1'RICT                           OI'ilLL
                                (EXCEPT IN US. PLAINTIFF CASES)                                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                                LAND INVOLVED.


  (c) Attorney's (Finn Name, Address, and Telephone Number)                                                                 Attorneys (If Known)

 George E. Babcock, 1525 Old Louisquisett Pike                                                                             Neal J. McNamara, Nixon Peabody, LLP, One Citizens Plaza,
 Lincoln, RI 02865 401-475-5985                                                                                            Suite 500, Providence, RI 02903 401-454-1000
II. BASIS OF JURISDICTION                                 (Place an "X" in One Box Only)                  III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in On~ Box for Plaintiff
                                                                                                                    (For Diversity Cases Only)                                 and One Box for befendant)
o   1   U.S. Government                  o    3 Federal Question                                                                              PTF    DEF                                      m-F      DEF
           Plaintiff                              (U.S. Government Not a Party)                               Citizen of This State           il'I I LJ 1 Incorporated or Principal Place      ¢J 4 0 4
                                                                                                                                                          of Business In This State

02      US. Government                   II   4    Diversity                                                      Citizen of Another State          o   2      0     2   Incorporated and Principal Place      p     5       II   5
          Defendant                                                                                                                                                         of Business In Another State
                                                      (Indicate Citizenship of Parties   In   Item III)
                                                                                                                  Citizen or Subject of a           o   3      0     3   Foreign Nation                           p6         0    6
                                                                                                                       ForeianCountrv
IV. NATURE OF SUIT (Place an t'X't in One Bcx Onlv)


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    110 Insurance
    120 Marine
    130 Miller Act
    140 Negotiable Instrument
    150 Recovery of Overpayment
       &.Enforcement of Judgment
    151 Medicare Act
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                                         PERSONAL INJURY
                                          3 10 Airplane
                                          315 Airplane Product
                                              Liability
                                          320 Assault, Libel &.
                                              Slander
                                          330 Federal Employers'
                                                                           0
                                                                              PERSONAL INJURY
                                                                               362 Personal Injury -
                                                                                   Mod. Malpractice
                                                                           0 365 Personal Injury -
                                                                                   Product Liability
                                                                           0 368 Asbestos Personal
                                                                                   Injury Product
                                                                                                                  o 610 Agriculture
                                                                                                                  o 620 Other Food &.Drug
                                                                                                                  o 625 Drug Related Seizure
                                                                                                                        of Property 21 USC 881
                                                                                                                  o 630 Liquor Laws
                                                                                                                  o 640 R.R. &.Truck
                                                                                                                  o 650 Airline Regs.
                                                                                                                                                        o 422 Appeal 28 USC 158
                                                                                                                                                        o 423 Withdrawal

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                                                                                                                                                        o
                                                                                                                                                                   28 USC 157


                                                                                                                                                             820 Copyrights
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                                                                                                                                                                                                 410 Antitrust I

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                                                                                                                                                                                                 460 Deportati n
                                                                                                                                                                                                                  ''''''0'
                                                                                                                                                                                                 470 Racketeer Influenced and
                                                                                                                                                                                                     Corrupt 0 ganizations
o   152 Recovery of Defaulted                 Liability                            Liability                      o 660 Occupational                    o    840 Trademark                  0    480 Consumer' Credit
        Student Loans                0    340 Marine                        PERSONAL PROPERTY                           Safety/Health                                                       0    490 Cable/Sat rrv
        (Excl. Veterans)             0    345 Marine Product               0 370 Other Fraud                      o 690 Other                                                               0    810 Selective ervice
o   153 Recovery of Overpayment               Liability                    0 371 Truth in Lending                                                                                           0    850 Securities Commodities/
        of Veteran's Benefits        0    350 Motor Vehicle                0 380 Other Personal                   o 710 Fair Labor Standards            o   861    HIA (1395ff)                      Exchange
o   160 Stockholders' Suits          0    355 Motor Vehicle                       Property Damage                       Act                             o   862    Black Lung (923)         0    875 Customer Challenge
o   190 Other Contract                        Product Liability            0 385 Property Damage                  o 720 Labor/Mgmt. Relations           o   863    D1WCIDIWW (405(g))                12 USC 3 10
o   195 Contract Product Liability   0    360 Other Personal                      Product Liability               o 730 Labor/Mgmt.Reporting            o   864    ssm Title XVI            0    890 Other Sta utory Actions
o   196 Franchise                             Injurv                                                                   &.Disclosure Act                 o   865    RSI (405                 0    891 Agricultu al Acts
                                                                                                                  o 740 Railway Labor Act                                                   0    892 Economic Stabilization Act
o 210 Land Condemnation              o    441 Voting                       o   510 Motions to Vacate              o 790 Other Labor Litigation          o   870 Taxes (U.S. Plaintiff       0    893 Environn ental Matters
o 220 Foreclosure                    ~ 442 Employment                              Sentence                       o 791 Empl, Ret. Inc.                         or Defendant)               0    894 Energy Allocation Act
o 230 Rent Lease & Ejectment         o    443 Housing!                         Habeas Corpus:                              Security Act                 o   871 IRS-Third Party             0    895 Freedom tflnfonnation
o 240 Torts to Land                          Accommodations                o   530 General                                                                      26 USC 7609                          Act        '
o 245 Tort Product Liability         o    444 Welfare                     p    535 Ocath Penalty                                                                                            0    900Appeal of Fee Determination
o 290 All Other Real Property        o    445 Amer. wlDisabilities-        o   540 Mandamus & Other               i0   462 Naturalization Application                                                Under Eqaal Access
                                             Employment                   p    550 Civil Rights                   o    463 Habeas Corpus -                                                           to Justice
                                     o    446 Amer. w/Disabilities -       o   555 Prison Condition                       Alien Detainee                                                    0    950 Constitutionality of
                                             Other                                                                o    465 Other Immigration                                                         State Statutes
                                     o    440 Other Civil Rights                                                          Actions




V. ORIGIN                   (Place an "X" In One Box Only)                                                                                                                                                  Appeal to District
oI  Original            a     2 Removed from            0            3    Remanded from                   o   4   Reinstated or
                                                                                                                  Reopened
                                                                                                                                     0      5   Transferred from
                                                                                                                                                another district
                                                                                                                                                                         0 6    Multidistrict
                                                                                                                                                                                Litigation
                                                                                                                                                                                                  0 7       Judge from
                                                                                                                                                                                                            Magistrate
    Proceeding                   State Court                              Appellate Court
                                                                                                                                                (soecifv)                                                   Judement
                                              Cite the U.S Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)
                                                  28 U.S.C. 1331 and 28 U.S.C. 1332. federal ouestion and diversitv of citizenshio
                                              Brief description of cause:
                                              Plaintiff alleoes unlawful discrimination in emolovment based on race, relioion and national nom.
VII. REQUESTED IN                             LJ     CHECK IF THIS IS A CLASS ACTION                                   DEMAND       s                                CHECK YES only if demanded in c mplaint:
        COMPLAINT:                                  UNDER FRC.P.          23                                                                                         JURY DEMAND:                 ¥J Yes      10 No
                                                                                                                                                                                                              !
VIII. RELATED CASE(S)
                                                   (See instructions):
           IF   ANY                                                        JUDGE                                                                            DOCKET NUMBER




    RECEIPT #
                ----             AMOUNT
                                                  ------                          APPLYING IFP
                                                                                                          -----
                                                                                                                                            JUDGE                        _      MAG. JUDGE
                                                                                                                                                                                                 --------
